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                                                     % OF ACTIVE MEMBERS VS. REGISTERED LIBERTARIAN VOTERS BY STATE

                Tl Reg                           % Reg L to Total Active Active to                           Tl Reg                % Reg L to Total Active Active to
 STATE                           Reg Lib                                                            STATE                Reg Lib
                Voters                             Tl Reg     By State   Registered                          Voters                  Tl Reg     By State   Registered
   AK         602,262             7,009             1.16%               66             0.94%         MT      696,292        0        n/a          74          n/a
   AL        3,500,894              0                n/a               208              n/a           NC    7,417,462     50,231    0.68%        427         0.85%
   AR        1,803,017             725              0.04%              103            14.21%         ND      581,379        0        n/a          34          n/a
   AZ        4,143,929            32,148            0.78%              395             1.23%          NE    1,243,241     18,373    1.48%         94         0.51%
   CA        21,940,274          231,459            1.05%             1,579            0.68%         NH      870,802        0        n/a         231          n/a
   CO        3,806,454            41,052            1.08%              524             1.28%          NJ    6,505,751     23,478    0.36%        349         1.49%
   CT        2,237,016            3,351             0.15%              180             5.37%         NM     1,362,028     14,828    1.09%        136         0.92%
   DC         503,740             2,368             0.47%               28             1.18%         NV     1,853,980     16,330    0.88%        209         1.28%
   DE         764,765             2,211             0.29%               69             3.12%          NY    12,124,249    19,420    0.16%        682         3.51%
   FL        14,503,978           39,451            0.27%              856             2.17%         OH     7,774,767       0        n/a         672          n/a
   GA        7,729,838              0                n/a               505              n/a           OK    2,225,086     19,974    0.90%        138         0.69%
   HI         832,000               0                n/a                15              n/a          OR     2,976,195     20,914    0.70%        196         0.94%
   IA        1,878,721            12,100            0.64%              144             1.19%          PA    8,866,603     44,912    0.51%        714         1.59%
   ID        1,006,180            11,356            1.13%              125             1.10%          RI     720,169        0        n/a          35          n/a
   IL        8,364,999              0                n/a               505              n/a           SC    3,513,225       0        n/a         251          n/a
   IN        4,753,703              0                n/a               556              n/a           SD     597,148      2,802     0.47%         47         1.68%
   KS        1,957,576            21,164            1.08%              150             0.71%          TN    3,931,248       0        n/a         365          n/a
   KY        3,590,797            15,594            0.43%              188             1.21%          TX    16,211,198      0        n/a        1,221         n/a
   LA        3,016,626            16,180            0.54%              163             1.01%          UT    1,690,176     20,461    1.21%        178         0.87%
   MA        4,884,076            17,493            0.36%              304             1.74%          VA    5,975,696       0        n/a         631          n/a
   MD        4,173,661            17,712            0.42%              300             1.69%          VT     495,267        0        n/a          38          n/a
   ME         904,674              942              0.10%               82             8.70%         WA     4,861,482       0        n/a         511          n/a
   MI        8,127,040              0                n/a               509              n/a           WI    3,684,726       0        n/a         298          n/a
   MN        3,588,563              0                n/a               263              n/a          WV     1,153,130     10,025    0.87%         99         0.99%
   MO        4,213,092              0                n/a               304              n/a          WY      297,639      2,250     0.76%         59         2.62%
   MS        1,985,928              0                n/a               100              n/a         XX Est. 4,238,107       0        n/a          76          n/a
Reg totals provided by ballot-access.org & worldpopulationreview.com - last update 02/04/23         Totals 216,680,849   736,313    0.67%       15,986       2.17%




                                                                                              EXHIBIT 65
